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  8                         UNITED STATES DISTRICT COURT
  9
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11   MARCOS ALEJANDRO LEUVANOS, ) Case No. 5:20-01090-JEM
 12                                 )
            Plaintiff,              ) ORDER AWARDING EQUAL
 13
                                    ) ACCESS TO JUSTICE ACT
 14                v.               ) ATTORNEY FEES AND EXPENSES
 15                                 ) PURSUANT TO 28 U.S.C. § 2412(d)
      KILOLO KIJAKAZI,              ) AND COSTS PURSUANT TO 28
 16   Acting Commissioner of Social ) U.S.C. § 1920
 17   Security,                     )
                                    )
 18
            Defendant.              )
 19
 20
            Based upon the parties’ Stipulation for the Award and Payment of Equal
 21
      Access to Justice Act Fees, Costs, and Expenses:
 22
            IT IS ORDERED that fees and expenses in the amount of $5,600.00 (five
 23
      thousand six hundred dollars) as authorized by 28 U.S.C. § 2412, and costs in the
 24
      amount of $0.00 (zero dollars) as authorized by 28 U.S.C. § 1920, be awarded
 25
      subject to the terms of the Stipulation.
 26
 27   DATE: 11/16/2021          ______________________________________
                                JOHN E. McDERMOTT
 28
                                UNITED STATES MAGISTRATE JUDGE


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